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                      Exhibit
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                                                                                 McDonald Hopkins LLC
                                                                                 600 Superior Avenue, East
                                                                                 Suite 2100
                                                                                 Cleveland, OH 44114

                                                                                 P 1.216.348.5400
                                                                                 F 1.216.348.5474


Direct Dial: 216.348.5730
E-mail: mcavanagh@mcdonaldhopkins.com



                       *** CONFIDENTIAL AND SUBJECT TO FRE 408 ***

November 4, 2021

Via Email (rg@gilelawgroup.com)

Ryan Gile, Esq.
GILE LAW GROUP
The Canyons at Summerlin
1180 No. Town Center Dr., Ste. 100
Las Vegas, NV 89144

Re:      Spectrum’s Synthetic Urine Patents

Dear Mr. Gile:
As a follow up to our call on October 29, 2021, Spectrum requests that:

         1.      Aim High send the remaining sample of XStream from Micro Quality
                 Labs, Inc. to Element Labs so that Spectrum can conduct its own testing of
                 the sample.

         2.      Aim High instruct Micro Quality Labs, Inc. to provide to Spectrum all of
                 the data, notes, test results, and documents underlying the test results
                 (similar to what Spectrum provided for its testing), including photographs
                 of the product as received by the lab.

         3.      Aim High obtain the following from each of its suppliers of synthetic
                 urine during the last six years:

                 (a)      each distinct formula used and the date range when that formula
                          was used (note: the formula sheets must show the amount of each
                          ingredient; an MSDS is not sufficient); and

                 (b)      an affidavit from the person most knowledgeable from each
                          supplier attesting that (i) the formula information is complete and
                          accurate, and (ii) the supplier never added isothiazoline or any of
                          the claimed biocides to any synthetic urine solution and has no
                          knowledge, information, or reason to believe that isothiazoline or



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Ryan Gile, Esq.
November 4, 2021
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                      any of the claimed biocides were present in any synthetic urine
                      solution.

         4.   Aim High provide an affidavit from the person most knowledgeable
              attesting that Aim High (a) never added isothiazoline or any of the claimed
              biocides to any synthetic urine solution, and (b) has no knowledge,
              information, or reason to believe that isothiazoline or any of the claimed
              biocides were present in any synthetic urine solution.

Spectrum is willing to consider signing an NDA to keep any competitively-sensitive information
“Attorneys’ Eyes Only.” Let me know if you can provide a draft NDA for Spectrum to consider.

During our call, I raised the possibility of Spectrum’s and Aim High’s business people speaking
directly to see if they can work together on other ideas for potentially resolving this dispute.
Please let me know if Aim High is interested in having such a discussion and, if so, please
provide the name and contact information for the person that Spectrum should contact.

We ask that Aim High respond by November 26, 2021.

Sincerely,

Matthew J. Cavanagh




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